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                                                          United States District Court
                                                          Central District of California


 UNITED STATES OF AMERICA vs.                                                 Docket No.             ED CR 19-377(A)-VAP

 Defendant     STEFANI KASEY MARIE STEVENS                                    Social Security No. 0          3     9     5
       “Kasey J”; “7210oneandonly”; “oneandonly7210”
                                                                              (Last 4 digits)
 akas: “onenonly7210”; “lover7210”

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                       MONTH   DAY       YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.          05      05       2023


 COUNSEL                                                     DFPD Howard Shneider / DFPD Ijeoma U. Eke
                                                                              (Name of Counsel)

     PLEA                GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             x    NOT
                                                                                                                 CONTENDERE              GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                      Obtaining Custody of Minor with Intent to Produce Child Pornography, in violation of Title 18 U.S.C.
                      § 2251A(b)(2), as charged in Count 1 of the First Superseding Indictment.

                      Production of Child Pornography, in violation of Title 18 U.S.C. § 2251(a), (e), as charged in Counts 2
                      through 7 of the First Superseding Indictment.

                      Distribution of Child Pornography, in violation of Title 18 U.S.C. § 2252A(a)(2)(A), (b)(1), as charged in
                      Count 8 of the First Superseding Indictment.

                      Possession of Child Pornography, in violation of Title 18 U.S.C. § 2252A(a)(5)(B), (b)(2), as charged in
                      Count 9 of the First Superseding Indictment.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of: 40 years.

This term consists of 40 years on Count 1, 360 months on Counts 2 through 7, and 240 months on
Counts 8 and 9, all to be served concurrently.

It is ordered that the defendant shall pay to the United States a special assessment of $900, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility
Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has
established that she is unable to pay and is not likely to become able to pay any fine.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of
the defendant and provide all necessary treatment.
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After the defendant is released from imprisonment, the defendant shall be placed on supervised release
for a term of life. This term consists of life on each of Counts 1 through 9, all such terms to run
concurrently under the following terms and conditions:

1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
Services Office and Second Amended General Order 20-04.

2. The defendant shall cooperate in the collection of a DNA sample from the defendant.

3. During the period of community supervision, the defendant shall pay the special
assessment and restitution in accordance with this judgment's orders pertaining to such payment.

4. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from custody and at least two periodic drug tests
thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

5. The defendant shall participate in an outpatient substance abuse treatment and counseling program
that includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The
defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription medications
during the period of supervision.

6. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-
ordered treatment to the aftercare contractors during the period of community supervision. The
defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
defendant has no ability to pay, no payment shall be required.

Sex Offender Conditions
7. Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep
the registration current, in each jurisdiction where the defendant resides, is employed and is a student,
pursuant to the registration procedures that have been established in each jurisdiction. When
registering for the first time, the defendant shall also register in the jurisdiction in which the
conviction occurred if different from the defendant's jurisdiction of residence. The defendant shall
provide proof of registration to the Probation Officer within 48 hours of registration.

8. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex
offender treatment program, or any combination thereof as approved and directed by the Probation
Officer. The defendant shall abide by all rules, requirements, and conditions of such program,
including submission to risk assessment evaluations and physiological testing, such as polygraph and
Abel testing. The defendant retains the right to invoke the Fifth Amendment.




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9. As directed by the Probation Officer, the defendant shall pay all or part of the costs of
psychological counseling or psychiatric treatment, or a sex offender treatment program, or any
combination thereof to the aftercare contractor during the period of community supervision. The
defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
defendant has no ability to pay, no payment shall be required.

10. The defendant shall not view or possess any materials, including pictures, photographs, books,
writings, drawings, videos, or video games, depicting or describing child pornography, as defined in
18 U.S.C. §2256(8), or sexually explicit conduct depicting minors, as defined at 18 U.S.C. §2256(2).
This condition does not prohibit the defendant from possessing materials solely because they are
necessary to, and used for, a collateral attack, nor does it prohibit the defendant from possessing
materials prepared and used for the purposes of the defendant's Court-mandated sex offender
treatment, when the defendant's treatment provider or the probation officer has approved of the
defendant's possession of the material in advance.

11. The defendant shall not contact the victims by any means, including in person, by mail or
electronic means, or via third parties. Further, the defendant shall remain at least 100 yards from the
victims at all times. If any contact occurs, the defendant shall immediately leave the area of contact
and report the contact to the Probation Officer.

12. The defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming
pools, playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other places
primarily used by persons under the age of 18, without the prior written authorization of the probation
officer.

13. The defendant shall not associate or have verbal, written, telephonic, or electronic communication
with any person under the age of 18, except: (a) in the presence of the parent or legal guardian of said
minor; and (b) on the condition that the defendant notify said parent or legal guardian of the
defendant's conviction in the instant offense/prior offense. This provision does not encompass persons
under the age of 18, such as waiters, cashiers, ticket vendors, etc., whom the defendant must
interact with in order to obtain ordinary and usual commercial services.

14. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a
business or organization that causes the defendant to regularly contact persons under the age of 18.

15. The defendant shall not affiliate with, own, control, or be employed in any capacity by a business
whose principal product is the production or selling of materials depicting or describing “sexually
explicit conduct,” as defined at 18 U.S.C. §2256(2).

16. The defendant shall not own, use or have access to the services of any commercial mail-receiving
agency, nor shall the defendant open or maintain a post office box, without the prior written approval
of the Probation Officer.

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17. The defendant shall not possess or view any materials such as videos, magazines, photographs,
computer images or other matter that depict "actual sexually explicit conduct" involving adults as
defined by 18 USC 2257(h)(1).

18. The defendant shall not view or possess any materials, including pictures, photographs, books,
writings, drawings, videos, or video games, depicting or describing child erotica, which is defined as a
person under the age of 18 in partial or complete state of nudity, in sexually provocative poses, viewed
for the purpose of sexual arousal.

Employment
19. The defendant's employment shall be approved by the Probation Officer, and any change in
employment must be pre-approved by the Probation Officer. The defendant shall submit the name and
address of the proposed employer to the Probation Officer at least ten (10) days prior to any scheduled
change.

Residence
20. The defendant shall not reside within direct view of school yards, parks, public swimming pools,
playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under the
age of 18. The defendant’s residence shall be approved by the Probation Officer, and any change in
residence must be pre-approved by the Probation Officer. The defendant shall submit the address of
the proposed residence to the Probation Officer at least ten days prior to any scheduled move.

Search Condition
21. The defendant shall submit to a search, at any time, with or without warrant, and by any law
enforcement or probation officer, of the defendant's person and any property, house, residence,
vehicle, papers, computers, cell phones, other electronic communication or data storage devices or
media, email accounts, social media accounts, cloud storage accounts, effects and other areas under
the defendant's control, upon reasonable suspicion concerning a violation of a condition of supervision
or unlawful conduct by the defendant, or by any probation officer in the lawful discharge of the
officer's supervision functions.

Computer
22. The defendant shall possess and use only those computers and computer-related devices, screen
user names, passwords, email accounts, and internet service providers (ISPs) that have been disclosed
to the Probation Officer upon commencement of supervision. Any changes or additions are to be
disclosed to the Probation Officer prior to the defendant’s first use. Computers and computerrelated
devices include personal computers, personal data assistants (PDAs), internet appliance, electronic
games, cellular telephones, and digital storage media, as well as their peripheral equipment, that can
access, or can be modified to access, the internet, electronic bulletin boards, and other computers.




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23. All computers, computer-related devices, and their peripheral equipment, used by the defendant
shall be subject to search and seizure. This shall not apply to items used at the employment’s site that
are maintained and monitored by the employer.

24. The defendant shall comply with the rules and regulations of the Computer Monitoring Program.
The defendant shall pay the cost of the Computer Monitoring Program.

The Court sets a Restitution Hearing for Monday, July 31, 2023 at 9:00 a.m. Any filings relating to
restitution shall be filed by July 17, 2023.

The Court recommends that the defendant be designated to FCI Victorville.

The defendant is advised of the right to appeal.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            5/11/23
            Date                                                  Virginia A. Phillips, U. S. Senior District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            5/11/23                                         By    W. Hernandez
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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